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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

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                                         )
In re                                    )                     Chapter 11
                                         )
TOUGH MUDDER INCORPORATED; and           )                     Case No. 20-10036 (CSS)
TOUGH MUDDER EVENT PRODUCTION            )                     Case No. 20-10037 (CSS)
INCORPORATED,                            )
                                         )                     Re: D.I. 30 & 32
               Debtors.                  )
________________________________________ )

   ORDER SHORTENING NOTICE AND OBJECTION PERIODS AND LIMITING
NOTICE FOR THE CHAPTER 11 TRUSTEE’S MOTION FOR ENTRY OF AN ORDER
 (I) APPROVING ENTRY INTO AND PERFORMANCE UNDER ASSET PURCHASE
AGREEMENT BY AND AMONG SPARTAN RACE, INC., AND DEBTORS’ CHAPTER
 11 TRUSTEE, (II) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE
         DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
 ENCUMBRANCES, AND INTERESTS, (III) APPROVING THE ASSUMPTION AND
  ASSIGNMENT OF CERTAIN CONTRACTS AND RELATED PROCEDURES, (IV)
  APPROVING THE BID PROTECTIONS, AND (V) GRANTING RELATED RELIEF

                Upon the motion (the “Motion to Shorten”)1 of Derek C. Abbott, Esq., the chapter 11

trustee (the “Trustee”) for Tough Mudder Inc. and Tough Mudder Event Production Inc.

(collectively, the “Debtors”) for entry of an order pursuant to sections 102 and 105 of the

Bankruptcy Code, Bankruptcy Rule 9006 of the Bankruptcy Rules, and Local Rule 9006-1,

shortening the notice and objection periods and limiting notice with respect to the Sale Motion as

more fully described in the Motion to Shorten; and the Court having jurisdiction to consider the

matters raised in the Motion to Shorten pursuant to 28 U.S.C. § 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and the Court having authority to hear the matters raised in the Motion to

Shorten pursuant to 28 U.S.C. § 157; and venue being proper before this Court pursuant to 28 U.S.C.


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        Capitalized terms not defined herein are used as defined in the Motion to Shorten.
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§§ 1408 and 1409; and consideration of the Motion to Shorten and the requested relief being a core

proceeding that the Court can determine pursuant to 28 U.S.C. § 157(b)(2); and the Court having

reviewed and considered the Motion to Shorten; and the Court having determined that the legal and

factual bases set forth in the Motion to Shorten establish just cause for the relief sought herein; and

the Court having found that the relief requested in the Motion to Shorten is in the best interests of the

Debtors, their creditors, their estates, and other parties in interest; and after due deliberation and

sufficient cause appearing therefor,

                IT IS HEREBY ORDERED:

                1.      The Motion to Shorten is GRANTED as set forth herein.

                2.      The Sale Motion will be heard at the hearing scheduled for February 25,

2020, at 1:00 p.m. (Eastern Standard Time).

                3.      Objections, if any, to the relief requested in the Sale Motion must be made

prior to February 20, 2020, at 4:00 p.m. (Eastern Standard Time).

                4.      The Trustee is authorized to limit notice of the Motion to Shorten and the Sale

Motion on the Notice Parties in the manner stated in the Motion to Shorten and such notice

constitutes due and sufficient notice of the Sale Motion under the circumstances.

                5.      The Court retains jurisdiction to construe and enforce the terms of this Order.




         Dated: February 12th, 2020                2
         Wilmington, Delaware                     CHRISTOPHER S. SONTCHI
                                                  UNITED STATES BANKRUPTCY JUDGE
